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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

In re:                                                           Case No. 11-03004
         DAVID LEE BILLINGS
         JOAN CAROL BILLINGS
                  Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/26/2011.

         2) The plan was confirmed on 04/22/2011.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 05/03/2012.

         6) Number of months from filing to last payment: 15.

         7) Number of months case was pending: 16.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $88,150.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank.




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 Receipts:

            Total paid by or on behalf of the debtor                     $10,700.00
            Less amount refunded to debtor                                  $325.00

 NET RECEIPTS:                                                                                                  $10,375.00



 Expenses of Administration:

      Attorney’s Fees Paid Through the Plan                                         $3,324.00
      Court Costs                                                                       $0.00
      Trustee Expenses & Compensation                                                 $473.12
      Other                                                                             $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                               $3,797.12

 Attorney fees paid and disclosed by debtor:                            $176.00



 Scheduled Creditors:
 Creditor                                                Claim         Claim           Claim        Principal         Int.
 Name                                    Class         Scheduled      Asserted        Allowed         Paid            Paid
 CANDICA LLC                         Unsecured             1,648.00      1,612.67        1,612.67           0.00          0.00
 CHASE BANK USA                      Unsecured             1,077.00      1,352.05        1,352.05           0.00          0.00
 CITIBANK                            Unsecured             1,289.00           NA              NA            0.00          0.00
 CITIFINANCIAL                       Unsecured            16,665.00     10,509.11       10,509.11       1,598.24          0.00
 EAST BAY FUNDING                    Unsecured               404.00        543.31          543.31           0.00          0.00
 HSBC                                Unsecured                65.00           NA              NA            0.00          0.00
 HSBC BANK NEVADA                    Unsecured               406.00        391.76          391.76           0.00          0.00
 JP MORGAN CHASE BANK NA             Secured               2,320.66          0.00            0.00           0.00          0.00
 JP MORGAN CHASE BANK NA             Secured                   0.00          0.00            0.00           0.00          0.00
 PORTFOLIO RECOVERY ASSOC            Unsecured             6,909.00      6,348.77        6,348.77           0.00          0.00
 PORTFOLIO RECOVERY ASSOC            Unsecured               819.00        732.98          732.98           0.00          0.00
 PORTFOLIO RECOVERY ASSOC            Unsecured             3,456.00      3,508.15        3,508.15           0.00          0.00
 PORTFOLIO RECOVERY ASSOC            Unsecured             3,904.00      3,656.00        3,656.00           0.00          0.00
 QUANTUM3 GROUP                      Unsecured             4,460.00      4,460.77        4,460.77           0.00          0.00
 SPRINGLEAF FINANCIAL SERVICES       Secured               4,775.00      4,774.10        4,774.10       4,774.10        205.54
 WELLS FARGO FINANCIAL BANK          Unsecured             1,738.00      1,627.97        1,627.97           0.00          0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal              Interest
                                                                    Allowed                 Paid                  Paid
 Secured Payments:
        Mortgage Ongoing                                              $0.00                $0.00                $0.00
        Mortgage Arrearage                                            $0.00                $0.00                $0.00
        Debt Secured by Vehicle                                   $4,774.10            $4,774.10              $205.54
        All Other Secured                                             $0.00                $0.00                $0.00
 TOTAL SECURED:                                                   $4,774.10            $4,774.10              $205.54

 Priority Unsecured Payments:
         Domestic Support Arrearage                                    $0.00               $0.00                 $0.00
         Domestic Support Ongoing                                      $0.00               $0.00                 $0.00
         All Other Priority                                            $0.00               $0.00                 $0.00
 TOTAL PRIORITY:                                                       $0.00               $0.00                 $0.00

 GENERAL UNSECURED PAYMENTS:                                     $34,743.54            $1,598.24                 $0.00



 Disbursements:

          Expenses of Administration                                    $3,797.12
          Disbursements to Creditors                                    $6,577.88

 TOTAL DISBURSEMENTS :                                                                                    $10,375.00



        12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 05/25/2012                                  By: /s/ Glenn Stearns
                                                                                 Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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